     Case:92-07295-SEK12 Doc#:61 Filed:04/05/04 Entered:04/05/04 00:00:00         Desc:
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 1
                          IN THE UNITED STATES BANKRUPTCY COURT FOR
 2                               THE DISTRICT OF PUERTO RICO
 3
      IN THE MATTER OF:
 4
                                               CASE NO. 92-07295 SEK
 5
      REYES RODRIGUEZ, JUAN NICOLAS            Chapter 12
 6
      FLORES RIVERA, CARMELA
 7

 8
      XXX-XX-7961
 9
      XXX-XX-0485
10
                                                    FILED & ENTERED ON 4/5/2004
11                  Debtor(s)
12
                DISCHARGE OF DEBTOR AFTER COMPLETION OF CHAPTER 12 PLAN
13
           It appearing that the debtor is entitled to a discharge.
14         IT IS ORDERED:

15         The debtor is granted a discharge under section 1228(a) of title 11,
           United States Code, (the Bankruptcy Code).
16
           San Juan, Puerto Rico, this 5 day of April, 2004.
17

18

19                                                           BY THE COURT

20

21

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24
                                                           Sara E. De Jesus
25                                                       U.S. Bankruptcy Judge

26

27
     cc: All creditors
28

29
                SEE SECOND PAGE OF THIS ORDER FOR IMPORTANT INFORMATION.
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     Case:92-07295-SEK12 Doc#:61 Filed:04/05/04 Entered:04/05/04 00:00:00      Desc:
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 1
                  EXPLANATION OF BANKRUPTCY DISCHARGE IN A CHAPTER 12 CASE
 2
           This court order grants a discharge to the person named as the debtor
 3   after the debtor has fulfilled all requirements under the chapter 12 plan. It
     is not a dismissal of the case.
 4
     Collection of Discharged Debts Prohibited
 5
           The discharge prohibits any attempt to collect from the debtor a debt
 6   that has been discharged. For example, a creditor is not permitted to contact
     a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to
 7   attach wages or other property, or to take any other action to collect a
     discharged debt from the debtor. [In a case involving community property:]
 8   [There are also special rules that protect certain community property owned by
     the debtor’s spouse, even if that spouse did not file a bankruptcy case.] A
 9
     creditor who violates this order can be required to pay any damages and
     attorney’s fees to the debtor.
10
           However, a creditor may have the right to enforce a valid lien, such as
11
     a mortgage or security interest, against the debtor’s property after the
     bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case.
12
     Also, a debtor may voluntary pay any debt that has been discharged.
13
     Debts That are Discharged
14
     The chapter 12 discharge order eliminates a debtor’s legal obligation to pay a
     debt that is discharged. Most, but not all, types of debts are discharged if
15
     the debt is provided for by the chapter 12 plan or is disallowed by the court
     pursuant to section 502 of the Bankruptcy Code.
16
     Debts that are Not Discharged.
17
     Some of the common types of debts which are not discharged in a chapter 12
18
     bankruptcy case are:
19
        a.    Debts for most taxes;
        a.    Debts that are in the nature of alimony, maintenance, or support;
20
        b.    Debts for most student loans;
        c.    Debts provided for under sections 1222 (b)(5), (b)(a) or(b)(10)of the
21
              Bankruptcy Code and on which the last payment or other transfer is due
              after the date on which the final payment under the plan was due;
22
        d.    Debts for most fines, penalties, forfeitures, or criminal restitution
              obligations;
23
        e.    Debts for personal injuries or death caused by the debtor’s operation
              of a motor vehicle while intoxicated;
24
        f.    Some debts which were not properly listed by debtor; and
        h.    Debts that the bankruptcy court specifically has decided or will decide
25
        in   this bankrutcy case are not discharged.
26
           This information is only a general summary of the bankruptcy discharge.
        There are exceptions to these general rules. Because the law is
27
        complicated, you may want to consult an attorney to determine the exact
        effect of the discharge in this case.
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